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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                  CASE NO. 21-CR-60020-WPD

  UNITED STATES OF AMERICA,

  v.

  JONATHAN MARKOVICH, et al.,

                        Defendants.
                                         /

                        UNITED STATES’ NOTICE OF APPEARANCE

         Undersigned counsel hereby files this Notice of Appearance as counsel of record for the

  United States of America in this case. Please send all notices and inquiries concerning this matter

  to the undersigned counsel at the address listed below.



  Dated: February 10, 2022                     Respectfully submitted,

                                               JUAN ANTONIO GONZALEZ
                                               UNITED STATES ATTORNEY

                                               JOSEPH BEEMSTERBOER, ACTING CHIEF
                                               U.S. DEPARTMENT OF JUSTICE
                                               CRIMINAL DIVISION, FRAUD SECTION

                                               By: /s/ Andrea Savdie
                                                   Andrea Savdie
                                                   TRIAL ATTORNEY
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                                CERTIFICATE OF SERVICE

         I, Andrea Savdie, hereby certify that on February 10, 2022, I electronically filed the
  foregoing document with the Clerk of the Court using CM/ECF.


                                                    By:    /s/ Andrea Savdie
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